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                                                                                                            2021 Sep-03 PM 05:45
                                                                                                            U.S. DISTRICT COURT
                                                                                                                N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

    IN RE BLUE CROSS BLUE SHIELD                          :
    ANTITRUST LITIGATION                                  : Master File 2:13-cv-20000-RDP
    MDL 2406                                              :
                                                          :
                                                          :
                                                          : This document relates to
                                                          : Subscriber Track cases

    MOTION FOR FINAL APPROVAL OF CLASS SETTLEMENT AND APPOINTMENT
                     OF SETTLEMENT ADMINISTRATOR

        COME NOW the Class Representatives 1 (on behalf of themselves and the Settlement

Classes) (“Subscriber Plaintiffs”) in the above-styled action and hereby move this Court for an

order finally approving the class settlement of the Subscriber Plaintiffs’ claims against the Settling

Defendants and overruling all objections to the settlement. Subscriber Plaintiffs also seek

appointment of Judge Irma E. Gonzalez (Ret.) as Settlement Administrator.

        Subscriber Plaintiffs seek final approval of their settlement Damages Class, including a

Self-Funded Sub-Class, and an Injunctive Relief Class. These Settlement Classes and other terms

of the Settlement Agreement were agreed upon after several years of arm’s-length negotiations

with the assistance of three highly respected mediators, including Special Master Edgar C. Gentle.

        The Settlement Agreement is fair, reasonable, adequate, and satisfies the Eleventh Circuit’s

long-standing class settlement fairness factors as well as the requirements of Fed. R. Civ. P.

23(e)(2). Moreover, the Settlement Classes satisfy and are certifiable under Fed. R. Civ. P. 23(a),

(b)(2) and (b)(3). The proposed Plan of Distribution of settlement proceeds is fair, adequate and

reasonable. None of the objections warrants disapproval of the Settlement.



1
 Capitalized terms not otherwise defined herein shall have the meaning given them in the Settlement Agreement,
Dkt. No. 2610-2.
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       In support of this Motion, Subscriber Plaintiffs submit herewith the Subscriber Plaintiffs’

Memorandum of Law in Support of Motion for Final Approval of Class Settlement along with the

Declaration of Jennifer Keough in Support of Final Approval (Exhibit A); the Declaration of Dr.

Daniel Rubinfeld in Support of Final Approval (Exhibit B); a List of Regional and National

Insurers (Exhibit C); the Declaration of Dr. Joseph Mason (Exhibit D); several documents

produced by the Settling Defendants during the litigation (Exhibit E, BCBS-AZ_MDL000124422;

Exhibit F, CAREFIRST_ESI_06681777; Exhibit G, ARKBCBS0047016); the July 28, 2021

Letter from W. Berry to Settlement Class Counsel and Counsel for Settling Defendants (Exhibit

H); and the Resume of Proposed Settlement Administrator Judge Irma E. Gonzalez (Ret.) (Exhibit

I).

       For these reasons, as well as those set forth in the supporting materials submitted herewith,

Subscriber Plaintiffs’ Motion should be granted, and the Court should enter a final approval order

in the form proposed (Exhibit L). The Court should also enter the Proposed Order Appointing

Settlement Administrator (Exhibit J), appointing the Honorable Irma E. Gonzalez as Settlement

Administrator, and amend the Data Production Order by entering the Proposed Amended

Stipulation and Order Regarding Protected Health Information and Personally Identifiable

Information for Subscriber Settlement (Exhibit K).
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      Date: September 3, 2021                   Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on September 3, 2021, the foregoing Subscriber Plaintiffs’ Motion for

Final Approval of Class Settlement was filed with the Clerk of the Court and served on counsel of

record via ECF.



                                                                    /s/ Michael D. Hausfeld
                                                                   Michael D. Hausfeld
